Case 1:OO-cV-01096-.]DB-tmp Document 84 Filed 05/06/05 Page 1 of 3 Page|D 98

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FoR THE WEsTERN DISTRICT oF TENNESSEE 05 0
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Plainriff, J. g ivy:i(?€[£é¢/Z
' :[_,' QON .
"' No. 00-1096-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation

IT IS SO ORDERED this Q+ day of May, 2005.

§§M

@J. DANIEL BREEN
UD STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 84 in
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